        Case 1:24-cv-02163-WMR Document 26 Filed 08/26/24 Page 1 of 4




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Baxter Bailey & Associates, Inc.,      )
                                       )
                   Plaintiff,          )
                                       )
             vs.                       )     Case No.: 1:24-cv-02163-WMR
                                       )
SemiCab, Inc. et. al,                  )
                                       )
                   Defendants.         )
                                       )

                            MOTION FOR
               A THREE-DAY EXTENSION OF TIME TO FILE
                  RESPONSIVE PAPERS TO COMPLAINT

      Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Defendants

hereby file a motion for an extension of time to answer or otherwise respond to the

Amended Complaint to Friday, August 30, 2024. Defendants’ motion to dismiss is

due tomorrow, Tuesday, August 27, 2024 – i.e., an additional three (3) days.

      The motion for an extension is based on the fact that there are five (5)

corporate defendants with counsel that would like more time to review the proposed

motion to dismiss and accompanying memorandum of law. Coordinating between

the corporate defendants, particularly at the end of the summer when vacations have

been long planned, has proven more challenging than I expected.

      While I am prepared to file the motion to dismiss (and I further acknowledge

that I have already received one extension, which Plaintiff graciously consented to),
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I respectfully ask for a three-day extension up to and including Friday, August 30,

2024. Approximately one hour ago, I asked Plaintiff’s counsel if he consents but

have not heard back from him

      Regardless, I am grateful to the Court for its time and attention to this motion

and the courtesy previously extend to me by Plaintiff’s counsel.

      Respectfully     submitted      this   26th     day     of   August,      2022.



                                       Respectfully submitted,

                                       s/BRIAN LEHMAN
                                       BRIAN LEHMAN
                                       Admitted Pro Hac Vice
                                       Attorney for Defendants

KASELL LAW FIRM
 1038 Jackson Avenue,
 Suite #4
 Long Island City, New York 11101
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 brianlehman97@gmail.com
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                      CERTIFICATE OF COMPLIANCE

      This is to certify that to the best of my knowledge this document has been

prepared with one of the font and point selections approved by the Court in LR 5.1B,

pursuant to LR 7. Specifically, the above-mentioned document has been prepared

using Times New Roman font, 14 point.

This, the 26th day of August, 2024.

                                Respectfully submitted,

                                s/ Brian Lehman
                                BRIAN LEHMAN
                                ADMITTED PRO HAC VICE
                                Attorney for Defendants


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Baxter Bailey & Associates, Inc.,       )
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                    Plaintiff,          )
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             vs.                        )     Case No.: 1:24-cv-02163-WMR
                                        )
SemiCab, Inc. et al,                    )
                                        )
                    Defendants.         )
                                        )

                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the above date, I electronically filed this

document with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to all attorneys of record.

                                  Respectfully submitted,

                                  s/ Brian Lehman
                                  BRIAN LEHMAN
                                  Attorney for Defendants


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